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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE

IN THE MATTER OF THE SEARCH OF
BUCCAL CELLS FROM THE PERSON OF               No. 2:24-mj-162-KFW
JOSHUA ESTRADA, a/k/a “MAC”

AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       I, Jonathan Duquette, being first duly sworn, hereby depose and state as follows:

                 INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Task Force Officer (TFO) with the Federal Bureau of Investigation

(FBI). I have been in this position since June 2015, and I have been a Task Force Officer

in FBI’s Boston Division since January 2018. I am also a Border Patrol Agent with the

U.S. Border Patrol and have been in this position since December 2009. In my career, I

have utilized various investigative tools and techniques, to include the use of search

warrants.

       2.     I am currently investigating JOSHUA ESTRADA, a/k/a “Mac” (hereafter

“ESTRADA”) for offenses including violations of federal law, including 21 U.S.C. §§ 841,

846, and 18 U.S.C. § 36 (the “Target Offenses”).

       3.     I submit this affidavit in support of an application for a search warrant to

collect deoxyribonucleic acid (“DNA”), saliva, and buccal cell samples from ESTRADA,

as further described in Attachment A. On May 6, 2024, ESTRADA was arrested in New

Bedford, Massachusetts on an outstanding federal arrest warrant for the Target

Offenses. Since his arrest, ESTRADA has been held at the Donald W. Wyatt Detention

Facility in Central Falls, Rhode Island. ESTRADA is scheduled to make an initial

appearance in United States District Court, District of Maine, on May 16, 2024. Law

enforcement is seeking the requested DNA samples, as further described in Attachment
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B, as part of an ongoing investigation into ESTRADA’s commission of the Target

Offenses.

       4.     The requested DNA samples from ESTRADA will allow agents, forensic

examiners, and/or experts in DNA analysis to analyze and compare ESTRADA’s

respective DNA to items obtained from a search of a vehicle that was involved in a

shooting that occurred in Saco, Maine on February 9, 2024. ESTRADA has been

identified as likely being in the vehicle at the time of the shooting.

       5.     The facts in this affidavit come from my personal observations, my review

of records and reports, my training and experience, and information obtained from

other agents, officers, and witnesses. This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrant and does not set forth all of

my knowledge about this matter.

                                   PROBABLE CAUSE

       6.     For reference, a criminal complaint affidavit has been filed in the United

States District Court, District of Maine Case No. 2:24-mj-139-KFW and is attached as

Exhibit B. Additionally, a previous search warrant affidavit has been filed in the United

States District Court, District of Maine Case No. 2:24-mj-54-KFW and is attached as

Exhibit A which outlines the identification of ESTRADA, YANCARLOS ABRANTE,

JASON JOHNSON-RIVERA, and ANTHONY BUTLER as subjects of the investigation.

       7.     As partially documented in Paragraph 9 of Exhibit A, items were recovered

during this investigation that could contain DNA. After consulting with the FBI

Laboratory Division, the items recovered during this investigation that were deemed

suitable for DNA testing were submitted to the FBI Laboratory Division with a request

to recover DNA evidence for comparison to a known sample from ESTRADA.

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                                   DNA SWABBING


       8.     In order to compare any DNA from items recovered during the

investigation, law enforcement needs a DNA sample known to be from ESTRADA. A

sample of ESTRADA’s DNA can be obtained by taking a saliva and buccal swab sample

from the inside of ESTRADA’s mouth.

       9.     I know from experience and from conversations with other members of

law enforcement that DNA is found in human tissue and provides a genetic “blueprint”

for each person. It is unique to each person (except identical twins), and it has

accordingly been used by forensic chemists in a manner similar to fingerprints, that is,

to identify individuals who have left their DNA behind at crime scenes or on items of

evidence. DNA evidence is potentially extremely accurate as a means of identifying

individuals. DNA can be found in any number of bodily tissues, including blood, hair,

bone, and saliva.

       10.    Based on my training and experience, I am aware that the act of touching a

surface can lead to the transference of touch DNA (i.e., DNA that is transferred via skin

cells). Accordingly, a DNA sample suitable for comparison may be obtained by swabbing

the inside of a person’s mouth.

       11.    Samples taken from ESTRADA will be compared to the profiles identified

from items recovered during the investigation. A comparison showing a match would be

evidence tending to show that ESTRADA committed the Target Offenses.

                                     CONCLUSION


       12.    Based on the information detailed above and in Exhibits A and B, I have

probable cause to believe that JOSHUA ESTRADA committed the Target Offenses.


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